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        [Additional Counsel on Signature Page]
   10
        Plaintiffs’ Co-Lead Counsel
   11

   12
                             UNITED STATES DISTRICT COURT
   13
                           CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 PLAINTIFFS’ APPLICATION
   17   THIS DOCUMENT RELATES TO                 UNDER LOCAL RULE 79-5 TO
        ALL ACTIONS                              FILE DOCUMENTS UNDER SEAL
   18
                                                 JUDGE: Hon. Philip S. Gutierrez
   19                                            DATE: October 27, 2023
                                                 TIME: 1:30 p.m.
   20                                            COURTROOM: First Street Courthouse
                                                            350 West 1st Street
   21                                                       Courtroom 6A
                                                            Los Angeles, CA 90012
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    1         TO THE ABOVE-CAPTIONED COURT AND TO DEFENDANTS AND
    2   THEIR COUNSEL OF RECORD:
    3         PLEASE TAKE NOTICE that pursuant to Local Rule 79-5.2.2(b), Plaintiffs,
    4   by and through their counsel of record, hereby submit this application requesting
    5   that the Court lodge provisionally under seal the following documents (lodged
    6   concurrently herewith):
    7         1.    The sealed Declaration of Kevin Trainer in Support of Plaintiffs’
    8               Application Under Local Rule 79-5 to File Documents Under Seal.
    9         2.    The unredacted version of the Memorandum in Opposition to the NFL
   10               Defendants’ Motion for Summary Judgment.
   11         3.    The unredacted version of Plaintiffs’ Statement of Genuine Issues and
   12               Additional Undisputed Facts in Support of Plaintiffs’ Opposition to the
   13               NFL Defendants’ Motion for Summary Judgment.
   14         4.    The unredacted Exhibit 2 to the Declaration of Peter Leckman in
   15               Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   16               Summary Judgment.
   17         5.    The unredacted Exhibit 3 to the Declaration of Peter Leckman in
   18               Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   19               Summary Judgment.
   20         6.    The unredacted Exhibit 4 to the Declaration of Peter Leckman in
   21               Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   22               Summary Judgment.
   23         7.    The unredacted Exhibit 5 to the Declaration of Peter Leckman in
   24               Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   25               Summary Judgment.
   26         8.    The unredacted Exhibit 6 to the Declaration of Peter Leckman in
   27               Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   28               Summary Judgment.
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    1        9.    The unredacted Exhibit 7 to the Declaration of Peter Leckman in
    2              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
    3              Summary Judgment.
    4        10.   The unredacted Exhibit 8 to the Declaration of Peter Leckman in
    5              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
    6              Summary Judgment.
    7        11.   The unredacted Exhibit 9 to the Declaration of Peter Leckman in
    8              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
    9              Summary Judgment.
   10        12.   The unredacted Exhibit 10 to the Declaration of Peter Leckman in
   11              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   12              Summary Judgment.
   13        13.   The unredacted Exhibit 11 to the Declaration of Peter Leckman in
   14              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   15              Summary Judgment.
   16        14.   The unredacted Exhibit 12 to the Declaration of Peter Leckman in
   17              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   18              Summary Judgment.
   19        15.   The unredacted Exhibit 13 to the Declaration of Peter Leckman in
   20              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   21              Summary Judgment.
   22        16.   The unredacted Exhibit 14 to the Declaration of Peter Leckman in
   23              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   24              Summary Judgment.
   25        17.   The unredacted Exhibit 15 to the Declaration of Peter Leckman in
   26              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
   27              Summary Judgment.
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    1        18.   The unredacted Exhibit 16 to the Declaration of Peter Leckman in
    2              Support of Plaintiffs’ Opposition to the NFL Defendants’ Motion for
    3              Summary Judgment.
    4        19.   The sealed Exhibit 17 to the Declaration of Peter Leckman in Support
    5              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
    6              Judgment.
    7        20.   The sealed Exhibit 18 to the Declaration of Peter Leckman in Support
    8              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
    9              Judgment.
   10        21.   The sealed Exhibit 19 to the Declaration of Peter Leckman in Support
   11              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   12              Judgment.
   13        22.   The sealed Exhibit 20 to the Declaration of Peter Leckman in Support
   14              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   15              Judgment.
   16        23.   The sealed Exhibit 21 to the Declaration of Peter Leckman in Support
   17              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   18              Judgment.
   19        24.   The sealed Exhibit 22 to the Declaration of Peter Leckman in Support
   20              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   21              Judgment.
   22        25.   The sealed Exhibit 23 to the Declaration of Peter Leckman in Support
   23              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   24              Judgment.
   25        26.   The sealed Exhibit 24 to the Declaration of Peter Leckman in Support
   26              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   27              Judgment.
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    1        27.   The sealed Exhibit 25 to the Declaration of Peter Leckman in Support
    2              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
    3              Judgment.
    4        28.   The sealed Exhibit 26 to the Declaration of Peter Leckman in Support
    5              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
    6              Judgment.
    7        29.   The sealed Exhibit 27 to the Declaration of Peter Leckman in Support
    8              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
    9              Judgment.
   10        30.   The sealed Exhibit 28 to the Declaration of Peter Leckman in Support
   11              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   12              Judgment.
   13        31.   The sealed Exhibit 29 to the Declaration of Peter Leckman in Support
   14              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   15              Judgment.
   16        32.   The sealed Exhibit 30 to the Declaration of Peter Leckman in Support
   17              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   18              Judgment.
   19        33.   The sealed Exhibit 31 to the Declaration of Peter Leckman in Support
   20              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   21              Judgment.
   22        34.   The sealed Exhibit 32 to the Declaration of Peter Leckman in Support
   23              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   24              Judgment.
   25        35.   The sealed Exhibit 33 to the Declaration of Peter Leckman in Support
   26              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   27              Judgment.
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    1        36.   The sealed Exhibit 34 to the Declaration of Peter Leckman in Support
    2              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
    3              Judgment.
    4        37.   The sealed Exhibit 35 to the Declaration of Peter Leckman in Support
    5              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
    6              Judgment.
    7        38.   The sealed Exhibit 36 to the Declaration of Peter Leckman in Support
    8              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
    9              Judgment.
   10        39.   The sealed Exhibit 37 to the Declaration of Peter Leckman in Support
   11              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   12              Judgment.
   13        40.   The sealed Exhibit 38 to the Declaration of Peter Leckman in Support
   14              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   15              Judgment.
   16        41.   The sealed Exhibit 39 to the Declaration of Peter Leckman in Support
   17              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   18              Judgment.
   19        42.   The sealed Exhibit 40 to the Declaration of Peter Leckman in Support
   20              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   21              Judgment.
   22        43.   The sealed Exhibit 41 to the Declaration of Peter Leckman in Support
   23              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   24              Judgment.
   25        44.   The sealed Exhibit 42 to the Declaration of Peter Leckman in Support
   26              of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
   27              Judgment.
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    1         45.   The sealed Exhibit 44 to the Declaration of Peter Leckman in Support
    2               of Plaintiffs’ Opposition to the NFL Defendants’ Motion for Summary
    3               Judgment.
    4

    5         Pursuant to a meet-and-confer held on August 23, 2023, between counsel for
    6   Plaintiffs’ and counsel for the NFL Defendants, along with the parties’ past
    7   practices regarding confidentiality issues, and because the redacted information
    8   references or contains materials designated as CONFIDENTIAL or HIGHLY
    9   CONFIDENTIAL pursuant to the protective order in this matter, the NFL
   10   Defendants requested that Plaintiffs move the Court to seal and redact the
   11   designated documents.
   12

   13   DATED: August 28, 2023                    By: /s/ Kevin Trainer
                                                  Kevin Trainer
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